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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

MALIBU MEDIA, LLC.,                          §
                                             §
               Plaintiff,                    §
                                             §
v.                                           §         CIVIL ACTION NO. H-16-2319
                                             §
JENNA HOWARD,                                §
                                             §
               Defendant.                    §

                                         ORDER

         The joint stipulation of dismissal (Dkt. 40) is GRANTED. It is therefore ORDERED

that this cause of action is DISMISSED with prejudice. Each party shall bear their own

costs.



         Signed at Houston, Texas on December 28, 2017.




                                                       Gray H. Miller
                                                 United States District Judge
